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           Olivia Y., Jamison J., et al. V. Phil
              Bryant, Donald Taylor, et al.

                                     Cindy Greer
                                 November 28, 2018




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      1          A.    We were -- at the time I left, we were

      2    in the process of submitting the development APD,

      3    which is that advanced planning document that the

      4    feds have to approve prior to us beginning the

      5    first development.       We were in the process of

      6    finalizing that document to send to them.

      7          Q.    I see.     And did you work on some -- I'll

      8    withdraw that.

      9                Around what time did you learn about

     10    this shortfall and looking at priorities in your

     11    divisions, roughly?

     12          A.    I'm going to roughly say around

     13    February      the end of February, the first of

     14    March.

     15          Q.    Of what year?

     16          A.    Of this year, 2018.

     17          Q.    Okay.     And are you still with the

     18    agency?

     19          A.    No.

     20          Q.    And when did you leave?

     21          A.    June 15th, 2018.

     22          Q.    So as of, roughly, February of '18,

     23    what -- what, if anything, changed with regard to

     24    the work you were doing on CCWIS?

     25          A.    I was asked to prioritize the work and




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      1          A.    We had to end them for a period of time

      2    until another budget year.

      3          Q.    So were they ended indefinitely?

      4          A.    Yes.

      5          Q.    So you didn't know whether they were

      6    going to actually be utilized to help with the

      7    CCWIS system when you left?

      8          A.    No.

      9          Q.    Did that give you concern about whether

     10    or not the CCWIS system was going to be delivered

     11    on time?

     12          A.    Yes.

     13          Q.    Do you think that putting the resources

     14    in that situation where the contracts had either

     15    been terminated or suspended, was that -- is that

     16    a correct way to characterize it, that the

     17    contracts were suspended?

     18                MS. RACHAL:      Objection, asked and

     19          answered.      You can answer.

     20                THE WITNESS:      They were terminated.

     21          Q     (By Ms. Lowry)      They were terminated.

     22                Why did you leave the agency?

     23          A.    For personal reasons and to pursue                 to

     24    pursue other career options.

     25          Q.    And what personal reasons were there?




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      1          A.    I had been there for nine years,

      2    basically, burnout, and fighting this lawsuit for

      3    that many years, too, and I was burnt out.

      4          Q.    There was a change in leadership at the

      5    agency; is that right?

      6          A.    Yes.

      7          Q.    And did you have discomfort with the

      8    change in the leadership?

      9          A.    It was a different leadership style.

     10          Q.    And in what way was it different?

     11          A.    Just everybody has their own style.

     12          Q.    Understood.      Understood.

     13                But in what way was it different?

     14                MS. RACHAL:      Objection, asked and

     15          answered.

     16                MS. LOWRY:      I don't think so.

     17                So you can answer the question, I

     18          believe.

     19                THE WITNESS:      Prior administration was

     20          more dependent upon the deputies.               When the

     21          administration changes -- changed -- and this

     22          is true in any administration change, it's

     23          always a different -- a different style --

     24          but the last administration was not as

     25          dependent upon the deputies.




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